IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
V. Case No. 22-00234-01-CR-W-HFS
MAREK REDDING,
Defendant.
PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure, the parties described
below have entered into the following plea agreement that the parties request be made binding upon
the Court upon its acceptance of the plea agreement. The parties request that the Court impose a total
sentence of 240 months’ imprisonment upon the defendant’s pleas of guilty to Counts One, Two, Four,
and Five as follows: a sentence of 240 months’ imprisonment on Counts One and Four, a sentence of
180 months® imprisonment on Count Two, and a sentence of 24 months’ imprisonment on Count Five,
all sentences to run concurrently. Additionally, the parties request that the Court impose a term of
supervised release between 25 years and life, restitution in an amount to be determined at sentencing,
and a $400.00 special assessment pursuant to 18 U.S.C. § 3013. The parties are further aware that
the Court will consider imposition of a special assessment of $5,000 pursuant to 18 U.S.C. § 3014 if
the defendant is not indigent, and an additional assessment of not more than $50,000 pursuant to 18
U.S.C. § 2259A(a)(). All as more fully described below.

1. The Parties. The parties to this agreement are the United States Attorney’s Office
(“USAO”) for the Western District of Missouri (otherwise referred to as “the Government” or “the

United States”), represented by Teresa A. Moore, United States Attorney, Alison D. Dunning,

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Assistant United States Attorney, and the defendant, Marek Redding (“the defendant’), represented
by attorney Ronna Holloman-Hughes.

The defendant understands and agrees that this plea agreement is only between him and the
United States Attorney for the Western District of Missouri, and that it does not bind any other federal,
state, or local prosecution authority or any other government agency, unless otherwise specified in this
agreement,

2. Defendant’s Guilty Plea. The defendant agrees to and hereby does plead guilty to

Counts One, Two, Four and Five of the Indictment.

Counts One and Four of the indictment each charge the defendant with the offense of
production of child pornography, in violation of 18 U.S.C. §§ 225 l(a) and {e).

Count Two of the Indictment charges the defendant with the offense of distribution of child
pornography, in violation of 18 U.S.C. §§ 2252(a}(2) and (b)(1).

Count Five of the Indictment charges the defendant with the offense of extortion, in violation
of 18 U.S.C, § 875¢d).

By entering into this plea agreement, the defendant admits that he knowingly committed the
offenses charged and is in fact guilty of the offenses.

The defendant also admits to the forfeiture allegation of the Indictment and agrees to forfeit to
the United States the property described in forfeiture allegation of the Indictment and this plea
agreement,

3. Factual Basis for Guilty Plea. The parties agree that the facts constituting the offenses

to which the defendant is pleading guilty include the following:

On or about January 24, 2022, the date being approximate, in the Western District of
Missouri and elsewhere, the defendant, Marek Redding, did knowingly employ, use, persuade,

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induce, entice and coerce a minor, Minor Victim 1, to engage in sexually explicit conduct for
the purpose of producing a visual depiction of such conduct, which visual depiction was
transported in or affecting interstate or foreign commerce, and was produced using materials
that had been mailed, shipped, and transported in and affecting interstate and foreign
commerce, and attempted to do so, all in violation of Title 18, United States Code, Sections
225 1 {a) and (e).

On or about January 24, 2022, the date being approximate, in the Western District of
Missouri and elsewhere, the defendant, Marek Redding, using any means or facility of
interstate or foreign commerce, knowingly distributed a visual depiction of Minor Victim 1,
that had been shipped and transported in or affecting interstate and foreign commerce by any
means including by computer, and the visual depiction contained material which had been
shipped and transported in interstate and foreign commerce by any means including by
computer; and the production of the visual depiction involved the use of a minor engaging in
sexually explicit conduct, and such visual depiction was of such conduct, and attempted to do
so, all in violation of Title 18, United States Code, Sections 2252(a)(2) and (b)(f).

The defendant admits that on or about January 24, 2022, within the Western District of
Missouri, he recorded a video of Minor Victim | engaged in sexually explicit conduct. The
defendant further admits that he knew Minor Victim 1 was in fact a minor under the age of 18,
The defendant further admits that he distributed a copy of the video to another person in another
state via SMS text messaging on a network that engages in interstate commerce. Further, the
defendant admits that the device he used to produce and distribute, and possess a copy of, the
video of Minor Victim 1 was manufactured outside the state of Missouri and had therefore
traveled in interstate or foreign commerce.

On or about March 10, 2022, the date being approximate, in the Western District of
Missouri and elsewhere, the defendant, Marek Redding, did knowingly employ, use, persuade,
induce, entice and coerce a minor, Minor Victim 2, to engage in sexually explicit conduct for
the purpose of producing a visual depiction of such conduct, which visual depiction was
transported in or affecting interstate or foreign commerce, and was produced using materials
that had been mailed, shipped, and transported in and affecting interstate and foreign
commerce, and attempted to do so, all in violation of Title 18, United States Code, Sections
225 1(a) and (e).

The defendant admits that on or about March 10, 2022, within the Western District of
Missouri, he instructed Minor Victim 2 to record a video of Minor Victim 2 engaged in
sexually explicit conduct, The defendant further admits that he knew Minor Victim 2 was in
fact a minor under the age of 18. Further, the defendant admits that the device he used to
produce, and possess a copy of, the video of Minor Victim 2 was manufactured outside the
state of Missouri and had therefore traveled in interstate or foreign commerce,

On or about the dates between April 9, 2022 and April 11, 2022, said dates being
approximate, in the Western District of Missouri and elsewhere, the defendant, Marek

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Redding, knowingly and with intent to extort a thing of value from Adult Victim, did transmit
in interstate and foreign commerce a communication containing a threat to injure the property
and reputation of Adult Victim, all in violation of Title 18, United States Code, Section 875(d).

The defendant admits that on or about the dates between and including April 9, 2022
and April 11, 2022, he knowingly sent messages to Adult Victim via a social media platform
that operates over the Internet. The defendant further admits that the messages contained true
threats to damage the reputation of Adult Victim. The defendant further admits that he sent the
true threats with the intent to extort something of value to the defendant, namely photographs.
The defendant further admits that he was located within the Western District of Missouri when
he sent the true threats to Adult Victim, who was known to be located in another state.

The defendant admits that he used or intended to use the following property to commit,
promote, or facilitate the commission of Counts One, Two, and Four of the Indictment and the
conduct described above: a black Apple iPhone 8, serial number F4GXQU2AJC67, IMEI
356085097002357; a dark gray Apple iPhone 8, serial number C7CW93YRJC6C, IMEI
353002095307202; an Android TCL A509L cell phone, IMSI 311480631504640; a 128GB
Apple iPhone 13 mini, serial number QT92MDJ7PT, IMEI 350257576117107; a blue Apple
iPhone, IMEI 353503754266282; a 128GB Apple iPhone I1 Pro, serial number
C39CF2USN6XN, IMEI 353237108191942; and a 64GB Apple iPhone, serial number
unknown, IMEI 354830095556546.

4, Use of Factual Admissions and Relevant Conduct. The defendant acknowledges,
understands and agrees that the admissions contained in Paragraph 3 and other portions of this plea
agreement will be used for the purpose of determining his guilt and advisory sentencing range under
the United States Sentencing Guidelines (“U.S.S.G.”), including the calculation of the defendant’s
offense level in accordance with U.S.S.G. § 1B1.3(a)(2). The defendant acknowledges, understands
and agrees that the conduct charged in any dismissed counts of the Indictment as well as all other
uncharged rejated criminal activity may be considered as “relevant conduct” pursuant to U.S.S.G,
§ 1B1.3(a)(2) in calculating the offense level for the charge to which he is pleading guilty.

5. Statutory Penalties. The defendant understands that production of child pornography,

as charged in Counts One and Four of the Indictment, carries a mandatory minimum sentence of 15

ears’ imprisonment, and a maximum sentence of 30 years’ imprisonment, a $250,000 fine, from five
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years to life of supervised release, an order of restitution of not less than $3,000 per victim, a $5,000
special assessment for non-indigent defendants, and an additional assessment of not more than -
$50,000. The defendant understands that production of child pornography is a Class B felony.

The defendant understands that distribution of child pornography, as charged in Count Two of
the Indictment, carries a mandatory minimum sentence of 5 years’ imprisonment, a maximum sentence
of 20 years’ imprisonment, a $250,000 fine, from five years to life of supervised release, an order of
restitution of not less than $3,000 per victim, a $5,000 special assessment for non-indigent defendants,
and an additional assessment of not more than $35,000. The defendant understands that distribution
of child pornography is a Class C felony.

The defendant understands that extortion, as charged in Count Five of the Indictment, carries
a maximum sentence of 2 years’ imprisonment, a $250,000 fine, and up to one year of supervised
release, The defendant understands that extortion is a Class E felony.

The defendant further understands that a mandatory special assessment of $100 will be
assessed for each felony count of conviction for a total of $400, which must be paid in full at the time
of sentencing.

6. Sentencing Procedures. The defendant acknowledges, understands and agrees to the

following:

a, In determining the appropriate sentence, the Court will consult and consider the
United States Sentencing Guidelines promulgated by the United States Sentencing
Commission. While these Guidelines are advisory in nature, and the Court ordinarily would
have the discretion to impose a sentence either less than or greater than the court-determined
advisory Guidelines range, in this instance the parties agree, pursuant to Rule | 1(c)(1}(C), that
the Court must impose sentence as follows: A sentence of 240 months’ imprisonment on
Counts One and Four of the Indictment, a sentence of 180 months’ imprisonment on Count
Two of the Indictment, and a sentence of 24 months’ imprisonment on Count Five of the
indictment, to be served concurrently for a total of 240 months’ imprisonment; a term of
supervised release between 25 years and life; no fine; restitution in an amount to be determined

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at sentencing; and a $400 special assessment pursuant to 18 U.S.C, § 3013. The parties are
further aware that the Court will consider imposition of a special assessment of $5,000 pursuant
to 18 U.S.C. § 3014 if the defendant is not indigent, and an additional assessment of not more
than $50,000 pursuant to 18 U.S.C. § 2259A(a\(2). If the court accepts this plea agreement,
it must inform the defendant that sentence will be imposed in accordance with this agreement
of the parties. If the court rejects this plea agreement, tt must, on the record and in open court,
inform the parties that the court rejects the plea agreement, advise the defendant personally
that because the Court is rejecting the plea agreement the Court is not required to impose
sentence in accordance with the agreement of the parties, give the defendant an opportunity to
withdraw the defendant’s guilty plea, and further advise the defendant that if the plea is not
withdrawn, the Court may dispose of the case less favorably toward the defendant than the plea
agreement contemplated;

b. The Court will determine the defendant’s applicable Sentencing Guidelines range
at the time of sentencing;

c. In addition to a sentence of imprisonment, the Court must impose a term of
supervised release of at least five years up to life; that the Court must impose a period of
supervised release if a sentence of imprisonment of more than one year is imposed, and in the

defendant’s case, the Court must impose a period of supervised release between 25 years and
life;

d. If the defendant violates a condition of his supervised release, the Court may
revoke his supervised release and impose an additional period of imprisonment of up to three
years without credit for time previously spent on supervised release. However, pursuant to
18 ULS.C, § 3583(k), if the Court revokes the supervised release because the defendant
committed a criminal offense under chapter 109A (sexual abuse offenses occurring on special
maritime or territorial jurisdiction of the United States, in violation of 18 U.S.C. §§ 224]-
2248), 110 (sexual exploitation and other abuse of children, including child pornography
offenses, in violation of 18 U.S.C. §§ 2251-2260A), or 117 (transportation for illegal sexual
activity and related crimes, in violation of 18 U.S.C. §§ 2421-2428) or Section 1201
(kidnapping) or L591 (sex trafficking of children or by force, fraud, or coercion) of Title 18 of
the United States Code, the law may ailow the Court to impose an additional period of
imprisonment of five or more years without credit for time previously spent on supervised
release. In addition to a new term of imprisonment, the Court also may impose a new period
of supervised release, the length of which cannot exceed life, less the term of imprisonment
imposed upon revocation of the defendant’s first supervised release;

e. Any sentence of imprisonment imposed by the Court will not allow for parole;
f. The defendant agrees that the United States may institute civil, judicial, or

administrative forfeiture proceedings against all forfeitable assets in which the defendant has
an interest, and that he will not contest any such forfeiture proceedings;

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g. The defendant agrees to forfeit all interests he owns or over which he exercises
control, directly or indirectly, in any asset that is subject to forfeiture to the United States,
either directly or as a substitute for property that was subject to forfeiture but is no longer
available for the reasons set forth in 21 U.S.C, § 853(p), including but not limited to the
following specific property:

i. A black Apple iPhone 8, serial number F4GXQU2AJC67, IMEI
3560850970023 57;

ii. A dark gray Apple iPhone 8, serial number C7CW93YRIC6C, IMEI
353002095307202; and

iil. An Android TCL A509L cell phone, IMSI 31148063 1504640.

iv. a 128GB Apple iPhone 13 mini, serial number QT92MDJ7PT, IMEI
350257576117107;

v. A blue Apple iPhone, IMEI 353503754266282;

vi. a 128GB Apple iPhone 11 Pro, serial number C39CF2USN6XN, IMEI
353237108191942: and

vii. a64GB Apple iPhone, serial number unknown, IMEI 354830095556546,

With respect to any asset that the defendant has agreed to forfeit, the defendant waives any
constitutional and statutory challenges in any manner (including direct appeal, habeas corpus,
or any other means) to any forfeiture carried out in accordance with this plea agreement on any
grounds, including that the forfeiture constitutes an excessive fine or punishment under the
Eighth Amendment to the United States Constitution;

h. The defendant agrees to fully and truthfully disclose the existence, nature, and
location of all assets forfeitable to the United States, either directly or as a substitute asset, in
which he, his co-defendants, and his co-conspirators have or had any direct or indirect financial
interest, or exercise or exercised control, directly or indirectly, during the period from June
2019 to the present. The defendant also agrees to fully and completely assist the United States
in the recovery and forfeiture of all such forfeitable assets;

i. The defendant agrees to take all necessary steps to comply with the forfeiture
matters set forth herein before his sentencing; and

j. The defendant states that he is the sole and rightful owner of the following property:

i, A black Apple iPhone 8, serial number F4AGXQU2AIC67, IMEI
356085097002357;

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i.

iii,

Vi.

Vii.

A dark gray Apple iPhone 8, serial number C7CW93YRIC6C, IME]
353002095307202; and

An Android TCL ASO9L cell phone, IMS1 31148063 1504640,

a 28GB Apple iPhone 13 mini, serial number QT92MDJ7PT, IMEI
350257576117107;

A blue Apple iPhone, IMEI 353503754266282;

a 128GB Apple iPhone i1 Pro, serial number C39CF2U5N6XN, IMEI
353237108191942; and

a 64GB Apple iPhone, serial number unknown, IMEI 354830095556546,

Further, to the best of his knowledge, no one else has any ownership or other interest in the
property. In the event any federal, state, or local law enforcement agency having custody of
the property decides not to pursue forfeiture of the property due to its minimal value, the
defendant hereby abandons any interest he has in such property and consents to the destruction
or any other disposition of the property by the federal, state, or local agency without further
notice or obligation whatsoever owing to the defendant.

7, Government’s Agreements. Based upon evidence in its possession at this time, the
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United States Attorney’s Office for the Western District of Missouri, as part of this plea agreement,

agrees not to bring any additional charges against defendant for any federal criminal offenses described

in the statement of facts set forth in Paragraph 3, for which it has venue and which arose out of the

defendant’s conduct investigated in this case. The United States further agrees to dismiss Counts Three

and Six of the indictment after the defendant has been sentenced.

Other than the conduct expressly described in Paragraph 3, the defendant understands that this

plea agreement does not foreclose any prosecution for an act of murder or attempted murder, an act or

attempted act of physical or sexual violence against the person of another, or a conspiracy to commit

any such acts of violence or any criminal activity of which the United States Attorney for the Western

District of Missouri has no knowledge.

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The defendant recognizes that the United States’ agreement to forego prosecution of all of the
criminal offenses with which the defendant might be charged is based solely on the promises made by
the defendant in this agreement. If the defendant breaches this plea agreement, the United States retains
the right to proceed with the original charges and any other criminal violations established by the
evidence, The defendant expressly waives his right to challenge the initiation of the dismissed or
additional charges against him if he breaches this agreement. The defendant expressly waives his right
to assert a statute of limitations defense if the dismissed or additional charges are initiated against him
following a breach of this agreement. The defendant further understands and agrees that if the
Government elects to file additional charges against him following his breach of this plea agreement,
he will not be allowed to withdraw his guilty plea.

8. Preparation of Presentence Report. The defendant understands the United States will

provide to the Court and the United States Probation Office a government version of the offense
conduct. This may include information concerning the background, character, and conduct of the
defendant, including the entirety of his criminal activities. The defendant understands these disclosures
are not limited to the count to which he has pleaded guiity. The United States may respond to
comments made or positions taken by the defendant or the defendant’s counsel and to correct any
misstatements or inaccuracies, The United States further reserves its right to make any
recommendations it deems appropriate regarding the disposition of this case, subject only to any
limitations set forth in this plea agreement. The United States and the defendant expressly reserve the
right to speak to the Court at the time of sentencing pursuant to Rule 32(i)(4) of the Federal Rules of

Criminal Procedure.

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9. Withdrawal of Plea. Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and its
formal acceptance by the Court. In the event of such withdrawal, the parties will be restored to their
pre-plea agreement positions to the fullest extent possible. However, after the plea has been formally
accepted by the Court, the defendant may withdraw his plea of guilty only ifthe Court rejects the plea
agreement or if the defendant can show a fair and just reason for requesting the withdrawal.

10. Agreed Guidelines Applications. With respect to the application of the Sentencing

Guidelines to this case, the parties stipulate and agree as follows:

a. The Sentencing Guidelines do not bind the Court and are advisory in nature.
However, if the Court accepts this Rule 11(c)(1)(C) plea agreement, the Court is bound to
impose the sentence agreed by the parties, as set forth in paragraph 6 above;

db. The applicable Guidelines section for Counts One and Four, production of child
pornography, is U.S.S8.G § 2G2.1.

1) U.S.S.G. § 2G2.1 provides for a base offense level of 32;

2) Because the offense involved a minor who had not attained the age of

sixteen years, the base offense level is enhanced 2 levels pursuant to
US.S.G, § 2G2.1(b))(B);

3) Because the offense involved the commission of a sexual act, the base
offense level is enhanced at least 2 levels pursuant to U.S.S.G.
§ 2G2,1(b)(2);

4) Because the defendant knowingly engaged in distribution, the base offense
level is enhanced 2 levels pursuant to U.S.S.G. § 2G2.1(b)G);

5) Because the offense involved material that portrays sadistic or masochistic
conduct, the base offense level is enhanced by 4 levels pursuant to U.S.8.G.
§ 2G2.1(b)(4)(A);

6) Because, the offense involved the use of a computer or an interactive
computer service to solicit participation with a minor in sexually explicit
conduct for the purpose of producing sexually explicit material, the base
offense level is enhanced 2 levels pursuant to U.S.S.G. § 2G2.1(b)(6)(B)Gi).

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c. The applicable Guidelines section for Count Two, distribution of chiid
pornography, is U.S.8.G § 2G2.2.

1) U.S.S.G. § 2G2.1 provides for a base offense level of 22;

2) Because the defendant distributed in exchange for any valuable
consideration, but not for pecuniary gain, the base offense level is enhanced
5 levels pursuant to U.S.S.G. § 2G2.2(b)(3)(B);

3) Because the offense involved material that portrays sadistic or masochistic
conduct, the base offense level is enhanced by 4 levels pursuant to U.S.S.G,

§ 2G2.2(b)(4)(A);

4) Because the defendant engaged in a pattern of activity involving the sexual
abuse or exploitation of a minor, the base offense level is enhanced by 5
levels pursuant to U.S.8,G. § 2G2,2(b)(5);

5) Because, the offense involved the use of a computer or an interactive
computer service, the base offense ievel is enhanced 2 levels pursuant to
U.S.S.G. § 2G2.2(b)(6);

6) Because, the offense involved 600 or more images, the base offense level is
enhanced 5 levels pursuant to U.S.S.G, § 2G2,2(b)(7)(D),

7) Because the offense involved causing a minor to engage in sexually explicit
conduct for the purpose of producing a visual depiction of such conduct, the
cross-reference under U.S.S.G, § 2G2.2(c)(1) applies and U.S.S.G. § 2G2.1
should be applied if the resulting offense level is greater under U.S.S.G. §
2G2.1 than that determined under U.S.S.G. § 2G2.2.

d. The applicable Guidelines section for Count Five, extortion, is U.S.S.G § 2B3.2,
which provides for a base offense level of 18.

e, ‘The parties are aware that offenses covered by U.S.8.G. 2G2.1 (production of child
pornography) and 2B3.2 (extortion) are excluded from grouping under U.S.S.G. § 3D1.2 and
that a multipfe count adjustment will be considered and may be applied pursuant to U.S.S.G.,
Chapter 4, Part D.

f, There may or may not be enhancements or reductions under the Guidelines that
apply to this defendant other than those agreed upon by the parties. The parties are free to
advocate for or object to the application of any other enhancements or reductions. The parties
agree that this Court will determine the applicability of airy enhancements or reductions under
the Guidelines and agree to be bound by this Court’s determination as to the applicability of

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any enhancements or reductions, The parties agree that no evidence or testimony other than
that of the case agent will be required to be produced by the United States at the sentencing
hearing to establish by a preponderance of the evidence any contested facts;

g. The defendant has admitted his guilt and clearly accepted responsibility for his
actions, and has assisted authorities in the investigation or prosecution of his own misconduct
by timely notifying authorities of his intention to enter a plea of guilty, thereby permitting the
Government to avoid preparing for trial and permitting the Government and the Court to
allocate their resources efficiently. Therefore, he is entitled to a three-level reduction
pursuant to § 3E1.f(a) and (b) of the Sentencing Guidelines. ‘The Government, at the time of
sentencing, will file a written motion with the Court to that effect, unless the defendant (1) fails
to abide by all of the terms and conditions of this plea agreement and his pretrial release; or (2)
attempts to withdraw his guilty plea, violates the law, or otherwise engages in conduct
inconsistent with his acceptance of responsibility;

h. There is no agreement between the parties regarding the defendant’s criminal
history category. The parties agree that the Court will determine the defendant’s applicable
criminal history category after receipt of the presentence investigation report prepared by the
United States Probation Office;

i, The defendant understands that the estimated Guideline calculations set forth in the
subsections of this paragraph do not bind the Court or the United States Probation Office with
respect to the Court’s determination of the applicable advisory Guidelines;

j. The defendant and the United States confirm that the agreed sentence set forth in
paragraph 6 above is both reasonable and authorized by law;

k, The defendant consents to judicial fact-finding by a preponderance of the evidence
for all issues pertaining to the determination of the defendant’s sentence, including the
determination of any mandatory minimum sentence (including the facts that support any
specific offense characteristic or other enhancement or adjustment). The defendant waives
any right to a jury determination beyond a reasonable doubt of all facts used to determine and
enhance the sentence imposed and waives any right to have those facts alleged in the
Indictment. The defendant also agrees that the Court, in finding the facts relevant to the
imposition of sentence, may consider any reliable information, including hearsay; and

1. The defendant understands and agrees that the factual admissions contained in
Paragraph 3 of this plea agreement, and any admissions that he will make during his plea
colloquy, support the imposition of the agreed-upon Guidelines calculations contained in this
agreement.

11. Effect_of Non-Agreement_ on Guidelines Applications, The parties understand,

acknowledge and agree that there are no agreements between the parties with respect to any Sentencing

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Guidelines issues other than those specifically listed in Paragraph 10, and its subsections. As to any
other Guidelines issues, the parties are free to advocate their respective positions at the sentencing
hearing.

12, Change in Guidelines Prior to Sentencing. The defendant agrees that if any

applicable provision of the Guidelines changes after the execution of this plea agreement, then any
request by defendant to be sentenced pursuant to the new Guidelines will make this plea agreement
voidable by the United States at its option. If the Government exercises its option to void the plea
agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal charges
that could have been brought but for this plea agreement.

13. Government’s Reservation of Rights. The defendant understands that the

United States expressly reserves the right in this case to:

a. Oppose or take issue with any position advanced by defendant at the sentencing
hearing which might be inconsistent with the provisions of this plea agreement;

b. Comment on the evidence supporting the charges in the Indictment;

c. Oppose any arguments and requests for relief the defendant might advance on an
appeal from the sentences imposed and that the United States remains free on appeal or
collateral proceedings to defend the legality and propriety of the sentence actually imposed,
even if the Court does not impose the sentence agreed to by the parties in this agreement; and

d, Oppose any post-conviction motions for reduction of sentence, or other relief.

14. Waiver of Constitutional Rights. The defendant, by pleading guilty, acknowledges

that he has been advised of, understands, and knowingly and voluntarily waives the following rights:
a. The right to plead not guilty and to persist in a plea of not guilty;

b. The right to be presumed innocent until his guilt has been established beyond a
reasonable doubt at trial;

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c. The right to a jury trial, and at that trial, the right to the effective assistance of
counsel;

d. The right to confront and cross-examine the witnesses who testify against him;
e. ‘The right to compel or subpoena witnesses to appear on his behalf; and

f, The right to remain silent at trial, in which case his silence may not be used against
him.

The defendant understands that by pleading guilty, he waives or gives up those rights and that
there will be no trial, The defendant further understands that if he pleads guilty, the Court may ask
him questions about the offense or offenses to which he pleaded guilty, and if the defendant answers
those questions under oath and in the presence of counsel, his answers may later be used against him
in a prosecution for perjury or making a false statement, The defendant also understands he has
pleaded guilty to a felony offense and, as a result, will lose his right to possess a firearm or ammunition
and might be deprived of other rights, such as the right to vote or register to vote, hold public office,
or serve on a jury.

15. Waiver of Appeilate and Post-Conviction Rights.

a. The defendant acknowledges, understands and agrees that by pleading
guilty pursuant to this plea agreement he waives his right to appeal or collaterally attack
a finding of guilt following the acceptance of this plea agreement, except on grounds
of (1) ineffective assistance of counsel; or (2) prosecutorial misconduct.

b, The defendant expressly waives his right to appeal his sentence, directly or
collaterally, on any ground except claims of (1) ineffective assistance of counsel; (2)
prosecutorial misconduct; or (3) an illegal sentence. An “illegal sentence” includes a
sentence imposed in excess of the statutory maximum, but does not include less serious
sentencing errors, such as a misapplication of the Sentencing Guidelines, an abuse of
discretion, or the imposition of an unreasonable sentence. However, if the United
States exercises its right to appeal the sentence imposed as authorized by 18 U.S.C,
§ 3742(b), the defendant is released from this waiver and may, as part of the
Government’s appeal, cross-appeal his sentence as authorized by 18 U.S.C, § 742(a)
with respect to any issues that have not been stipulated to or agreed upon in this
agreement,

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16. Financial Obligations. By entering into this plea agreement, the defendant represents

that he understands and agrees to the following financial obligations:

a. The Court must order restitution to the victims of the offense to which the defendant
is pleading guilty. Under 18 U.S.C. § 2259(b)(2)(B), such an award shall not be less than
$3,000 per victim. Under 18 U.S.C. § 3663(a)(3), the defendant agrees that the Court shall also
order restitution, in an amount determined by the Court to the victims of the defendant’s
offenses, including Adult Victim; and, in the case of miner victims in an amount not less than
$3,000 per victim, to victims depicted in all other child pornography images or videos
possessed or trafficked by the defendant arising from the investigation of this case which the
Government has agreed not to charge pursuant to this plea agreement regardless of whether
any such conduct falls within the offenses of conviction. Further, the defendant agrees to pay
restitution to any of his minor victims, including Minor Victim 1 and Minor Victim 2, for the
entire scope of his criminal conduct, including but not limited to all matters included as relevant
conduct, The defendant acknowledges and agrees that this criminal conduct (including relevant
conduct, charged and uncharged conduct) includes adult victims, any minor victim of any child
pornography offenses under Chapter 110, United States Code, and any minor victim of any
violation of federal and/or state law committed by the defendant, including any contact sexual
offense. Further, pursuant to 18 U.S.C. § 3664(d)(5), the defendant agrees not to oppose
bifurcation of the sentencing hearing if the victims’ losses are not ascertainable prior to
sentencing.

b. The United States may use the Federal Debt Collection Procedures Act and any
other remedies provided by law to enforce any restitution order that may be entered as part of
the sentence in this case and fo collect any fine.

c. The defendant will fully and truthfully disclose all assets and property in which he
has any interest, or over which the defendant exercises control directly or indirectly, including
assets and property held by a spouse, nominee or other third party, The defendant’s disclosure
obligations are ongoing, and are in force from the execution of this agreement until the
defendant has satisfied the restitution order in full.

d. Within 10 days of the execution of this plea agreement, at the request of the USAO,
the defendant agrees to execute and submit (1) a Tax Information Authorization form; (2) an
Authorization to Release Information; (3) a completed financial disclosure statement; and (4)
copies of financial! information that the defendant submits to the U.S, Probation Office. The
defendant understands that compliance with these requests will be taken inte account when the
United States makes a recommendation to the Court regarding the defendant’s acceptance of
responsibility.

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e. The defendant hereby authorizes the USAO to obtain a credit report pertaining to
him to assist the USAO in evaluating the defendant's ability to satisfy any financial obligations
imposed as part of the sentence.

f. The defendant understands that a Special Assessment will be imposed as part of the
sentence in this case. The defendant promises to pay the Special Assessment of $100 for each
count by submitting a satisfactory form of payment to the Clerk of the Court prior to appearing
for the sentencing proceeding in this case. The defendant agrees to provide the Clerk’s receipt
as evidence of his fulfillment of this obligation at the time of sentencing.

g. The defendant understands that a separate Special Assessment of $5,000 per
count, under 18 U.S.C. § 3014, will be imposed as part of the sentence in this case should the
Court determine that the defendant is not indigent. This Special Assessment shall not be
payable until the defendant has satisfied all outstanding court-ordered fines, orders of
restitution, and any other obligation related to victim-compensation arising from this case.

h. The defendant understands that an additional assessment of not more than $50,000
will be imposed under 18 U.S.C. § 2259A(a)(2) as part of the sentence in this case. Under 18
U.S.C. § 2259A(d)(2), the imposition of this assessment does not relieve the defendant of, or
entitle him to reduce the amount of any other penalty by the amount of the assessment,

i. The defendant certifies that he has made no transfer of assets or property for the
purpose of (1} evading financial obligations created by this Agreement; (2) evading obligations
that may be imposed by the Court; nor (3) hindering efforts of the USAO to enforce such
financial obligations. Moreover, the defendant promises that he will make no such transfers
in the future.

j. In the event the United States learns of any misrepresentation in the financial
disclosure statement, or of any asset in which the defendant had an interest at the time of this
plea agreement that is not disclosed in the financial disclosure statement, and in the event such
imisrepresentation or nondisclosure changes the estimated net worth of the defendant by ten
thousand dollars ($10,000.00) or more, the United States may at its option: (1} choose to be
relieved of its obligations under this plea agreement; or (2) let the plea agreement stand, collect
the full forfeiture, restitution, and fines imposed by any criminal or civil judgment, and also
collect 100% (one hundred percent) of the value of any previously undisclosed assets. The
defendant agrees not to contest any collection of such assets, In the event the United States
opts to be relieved of its obligations under this plea agreement, the defendant’s previously
entered pleas of guilty shall remain in effect and cannot be withdrawn.

17. Sex Offender Registration. The defendant understands that by pleading guilty, he will

be required to register as a sex offender upon his release from prison as a condition of supervised
release pursuant to 18 U.S.C. §3583(d). The defendant also understands that, independent of

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supervised release, he will be subject to federal and state sex offender registration requirements, and
that those requirements may apply throughout his life. The defendant understands that he shall keep
his registration current, shall notify the state sex offender registration agency or agencies of any
changes to the defendant’s name, place of residence, employment, or student status, or other relevant
information, including international travel. The defendant shall comply with requirements to
periodically verify in person his sex offender registration information, The defendant understands
that he will be subject to possible federal and state penalties for failure to comply with any such sex
offender registration requirements in whatever state he resides following release from prison, and he
will be subject to the registration requirements of that state. The defendant further understands that,
under 18 U.S.C. § 4042(c), notice will be provided to certain law enforcement agencies upon his
release from confinement following conviction.

As a condition of supervised release, the defendant shall initially register with the state sex
offender registration agency in the state in which he is released, and shall also register with the state
sex offender registration agency in any state where the defendant resides, is employed, works, or is a
student, as directed by the Probation Officer, The defendant shall comply with all requirements of
federal and state sex offender registration laws, including the requirement to update his registration
information. The defendant shall provide proof of registration to the Probation Officer within 72
hours of release from imprisonment.

18. Defendant Will Remain in Custody after the Plea. The defendant understands that

the crime to which he is pleading is a crime of vioience, as defined by 18 U.S.C. § 3156(a)(4)(C).
Accordingly, pursuant to 18 U.S.C. § 3143(a)(2), the Court must detain the defendant after it accepts

his plea of guilty to the offense. The defendant hereby agrees not to contest his detention and will

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be remanded to the custody of the U.S. Marshals immediately after the district court has accepted his
plea.

19. Waiver of FOIA Request. The defendant waives all of his rights, whether asserted

directly or by a representative, to request or receive from any department or agency of the United
States any records pertaining to the investigation or prosecution of this case including, without
limitation, any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or
the Privacy Act of 1974, 5 U.S.C. § 552a.

20. Waiver of Claim for Attorney’s Fees. The defendant waives all of his claims under

the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses arising out

of the investigation or prosecution of this matter.

21. Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,
violates any conditions of release, or violates any term of this plea agreement between the signing of
this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the defendant
provides information to the Probation Office or the Court that is intentionally misleading, incomplete,
or untruthful, or otherwise breaches this plea agreement, the United States will be released from its
obligations under this agreement. The defendant, however, will remain bound by the terms of the
agreement, and will not be allowed to withdraw his plea of guilty.

The defendant also understands and agrees that in the event he violates this plea agreement, all
statements made by him to law enforcement agents subsequent to the execution of this plea agreement,
any testimony given by him before a grand jury or any tribunal or any leads from such statements or
testimony shal! be admissible against him in any and all criminal proceedings. The defendant watves

any rights that he might assert under the United States Constitution, any statute, Rule 11(f}) of the

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Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence, or any other federal
rule that pertains to the admissibility of any statements made by him subsequent to this plea agreement.

22, Defendant’s Representations. The defendant acknowledges that he has entered into

this plea agreement freely and voluntarily after receiving the effective assistance, advice and approval
of counsel. The defendant acknowledges that he is satisfied with the assistance of counsel, and that
counsel has fully advised him of his rights and obligations in connection with this plea agreement.
The defendant further acknowledges that no threats or promises, other than the promises contained in
this plea agreement, have been made by the United States, the Court, his attorneys, or any other party
to induce him to enter his plea of guilty,

23. No Undisclosed Terms. The United States and defendant acknowledge and agree that

the above-stated terms and conditions, together with any written supplemental agreement that might
be presented to the Court in camera, constitute the entire plea agreement between the parties, and that
any other terms and conditions not expressly set forth in this agreement or any written supplemental
agreement do not constitute any part of the parties’ agreement and will not be enforceable against
either party.

24. Standard of Interpretation. The parties agree that, unless the constituttonal

implications inherent in plea agreements require otherwise, this plea agreement should be interpreted
according to general contract principles and the words employed are to be given their normal and

ordinary meanings. The parties further agree that, in interpreting this agreement, any drafting errors

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or ambiguities are not to be automatically construed against either party, whether or not that party was
involved in drafting or modifying this agreement,
Teresa A. Moore

United States Attorney

Dated: 1) 7/2 pe] (php 2 idbl a, it a
Alison D, Dunning nd
Assistant United States Attorney

T have consulted with my attorney and fully understand all of my rights with respect to the
offenses charged in the Indictment. Further, I have consulted with my attorney and fully understand
my rights with respect to the provisions of the Sentencing Guidelines. I have read this plea agreement
and carefully reviewed every part of it with my attorney. I understand this plea agreement and |
voluntarily agree to it,

Dated: “ff 20% harak I Ocal; AG

Marek Redding
Defendant

I am defendant Marek Redding’s attorney. I have fully explained to Mr. Redding his rights
with respect to the offenses charged in the Indictment. Further, [have reviewed with him the provisions
of the Sentencing Guidelines which might apply in this case. I have carefully reviewed every part of
this plea agreement with him. To my knowledge, Mr. Redding’s decision to enter into this plea

agreement ts an informed and voluntary one. Lh ff
u
Dated: { [ 4 [ £6 1 _for i

Ronna Holloman- Hughes
Attorney for Defendant Marek Redding

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